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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



    RONALD GIBSON,

                       Petitioner,                      Civil Action

                 v.                                     No. 11-cv-4550

    JOHN E. WETZEL,

                       Respondent.


                                             ORDER

        AND NOW, this 14th day of June, 2023, following oral argument held on June 14, 2023,

it is hereby ORDERED that:

        1.     Respondent shall file a brief responding to the substance of Petitioner’s Motion for

Summary Judgment by July 6, 2023.

        2.     Petitioner may file a reply within seven (7) days thereafter. 1



                                              BY THE COURT:



                                              /s/ Mitchell S. Goldberg
                                              MITCHELL S. GOLDBERG, J.




1
  Having further reviewed the docket and record in this matter, counsel are not required to submit
the letter regarding a merits review by the Honorable Darnell Jones regarding the stipulated penalty
phase relief.


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